         Case 4:15-cv-00549-BLW Document 27 Filed 05/24/17 Page 1 of 1




                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 JENNIFER BRIGHT,
                                                   Case No. 4:15-cv-00549-BLW
                      Plaintiff,
                                                   JUDGMENT
        v.

 RIVER RUN HOSPITALITY, LLC,
 d/b/a LE RITZ HOTEL & SUITES and
 SHAWN GALER,

                      DefendantS.


       In accordance with the Order issued concurrently herewith,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment be

entered and that this case be dismissed in its entirety, with prejudice, with each party

bearing its own costs and attorney fees.



                                           DATED: May 24, 2017



                                           B. LYNN WINMILL
                                           Chief U.S. District Court Judge




JUDGMENT - 1
